  Case 2:21-mj-01008-DUTY Document 11 Filed 03/08/21 Page 1 of 4 Page ID #:66
                                                                                          C

  1 ~
                                                         ~~tRK, U.S. DISTRICT
 2                                                                              COURT


 3 ~                                                         ~ ~ 2021
 4 ~
                                                                                1~CRNIA
                                                                                UEPUTY
 5 ~1
   I',
 6 ~'
 7~
 s'                        UNITED STATES DISTRICT COURT
 9"                       CENTRAL DISTRICT OF CALIFORNIA
10 I~.`:
    ,;
1 1 t' UNITED STATES OF AIVIE~2ICA,                      Case No.: ~-I MJ ~0~ g
12                                     Plaintiff,         ODDER OF DETENTION
13       vs.
 4I
         ,~d w0.1~d ~i rn
15 ~                                  ~ i7efendant.
16
17 ~                                                I.
18 ', A.       d4)   On motion ofthe Government in a case allegedly involving:
19             1.    O     a crime of violence.
20             2.    () an offense with maximum sentence of life imprisonment or death.
21             3.    (~    a narcotics or controlled substance offense with maximum sentence
22 ~                       often or more years.
23             4.    O     any felony -where aefendani convicted oftwo or more prior offenses
2~                         described above.
25 ~           5.    O     any felony that is not otherwise a crime of violence that involves a
2b                         minor victim, or possession or use of a firearm or destructive device
2`I                        or any other dangerous weapon, or a failure to register under 18
28                         ~.S.i:. § ~25~.
    Case 2:21-mj-01008-DUTY Document 11 Filed 03/08/21 Page 2 of 4 Page ID #:67



    1 ~ B.        (~     On motion by the Government/( )on Court's own motion, in a case
 Z ?s                    allegedly involving:
 3 ~a              Q~    On the further allegation by the Government of:
 4                        1.    Qo)   a serious risk that the defendant will flee.
    F
 ~ '«!                   2.    () a serious risk that the defendant will:
 6                              a.    ()       obstruct or attempt to obstruct justice.
 7"                             ~.    (j      threaten, injure or intimidate a prospective witness or
 8 i~,                         juror, or attempt to do so.
      6 3,
      !;     ~.    The Government(X) is/( j is not entitled to a rebuttable presumption that no
10 ', '            condition or combination of conditions will reasonably assure the defendant's
11                 appearance as required and the sarety or any person or the community.
12
I3                                                       lI.
i ~ ' A.          (~     The Court fines ~r~at no condition or combination of conditions will
1~                       reasonably assure:
l6                 1.   (~     the appearance ofthe derendant as required.
i%                             (X)    anaior
1S                 2.    (X)   the safety of any person or the community.
iy           B.   (~l    The Court rinds gnat she defenaant nas not rebutted by sufficient evidence to
2U                       the contrary the presumption provided by statute.                               ',
z~
z~                                                       ~~~.
2~~                The Court has conside_~ed:
2~           A.   (X) the nature and circumstances ~f the offenses) charged, including whether
2                        the offense is a ~rirze of violence, a Federal crime ofterrorism, or involves
26                       a minor victim ,1 a controlled substance, firearm, explosive, or destructive
2'7                      device,
z~ B.             (X) the weight o~~ e~~i~~ience against the derendant;

                                                    ~~~e ? ~f ~
   Case 2:21-mj-01008-DUTY Document 11 Filed 03/08/21 Page 3 of 4 Page ID #:68



  1 ~ C.        (X) the history and characteristics ofthe defendant; and
  2 ~ D.        (X) the nature and seriousness ofthe danger to any person or the community.
  3
     a,
  4 '~                                                   I~.
  ~              Tne Court aso has considered ai the evidence adduced at the hearing and the
  6 f arguments          and/or         statements   of counsel, and   the   Pretrial   Services
  7        Report/recommendation.
       :
  8
  9 ~~~                                                  V.
10 '             The Court bases the foregoing findings) on the following:
1 1 ' A.         (►JS   As to flight risk:
1z                h;S-furN a~- -~a~i lwt:~ ~ o~.~-p.e~
13                h~~       v~ ~va~aw~~s
14 `~            Ova oi✓l     S ~/~ S~Y)~ a.~O ~S~
~~                u►n k►n a~rn b a~I reso ~c.~ s
i~                oVl pvbl~a.~'1?m
i~               o~ ev- p-ev►d ~ ~q Ghu rq es
  ~               Vhewtploy e~1
iy              - 0►„~parev►~" ac c~c ss ~ ✓h ~ n ~/ i~ (a vq e a m ~~~5 ; lXYy`t S fc~
                ~
2U                      w i~'~I ~ 1-Io~OVD i~ C~ S ~
2i         B.   (~ As to danger:
22                W or'~ s"1 q '~'~ vJh G'~"~t cx ~eir~E av~ H~C'0.,pOYis i~ ~t ~~ ~.o Wes.

2.5               p oss e ss ec~ Q ~As e-+r' wh~ a ~"re s ~--tc~l
z~                levy t~ cr►w~~o~l his f~
2.:~               nor ro (~afi~ v~o(~.+~~S
2~                oV1 prohq,fi~l~)         now

2'i               ~1~   o ~~ s ~b stzuv~ ~. ab ~5.e.,
2a                Ih            C.~'l

                                                     rage 3 of 4
    Case 2:21-mj-01008-DUTY Document 11 Filed 03/08/21 Page 4 of 4 Page ID #:69



                                                     VI.
          A.   () The Court finds that a serious risk exists the defendant will:
                      1.   () obstruct or attempt to obstruct justice.
                      2.   ()      attempt to/( )threaten, injure or intimidate a witness or juror.
          B.   The Court bases the roregoing rinding(s) on the following:
  6
  7 ~.;
  8
  ~'
 10!                                                11!!~
 11       A.   IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
 12       B.   IT IS FURTHER ORDERED that the defendant be committed to the custody ofthe
 13            Attorney General for confinement in a corrections facility separate, to the extent
 1~            practicable, from persons awailing or serving sentences or being held in custody
 i5            pending appeal.
  n       C.   IT IS FURTiIER ~i~D~K~~i:~ thatine defendant be afforded reasonable opportunity
  "7           for private consultation with cour~sei.
 18       D.   Ii TS FLIRTY-DER ORDERED that, or_ order of a Court ofthe United States or on
 iy            request ofany attorney rar the Government,the person in charge ofthe corrections
2U             facility in which aefendant is confined deliver the defendant to a United States
L~             marshal for the purpose vi an appearance in connection with a court proceeding.
z~,
2
24        DATES: 3 ~ 2~
                                                3~~~~~ RC)S~'NBLUTH
2~~                                             L.S. MAGISTRATE JUDGE
2~i
.~,;

2,,

                                                   ~~
                                               =~'~a    ~,   c~±4
                                                     ~' ~
